        Case 1-17-45189-ess                 Doc 50   Filed 02/06/18      Entered 02/06/18 15:47:03




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                                                             February 6, 2018

T~ia ECF anti Hand Delivery
Hon. Elizabeth S. Stong
U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein U.S. Courthouse
271-C Cadman Plaza East, Suite 1595
Brooklyn, NY 11201-1800

            Re:    In re LW Retail Associates LLC (Case No. 17-45189 (ESS))

Dear Judge Stong:

        Reference is made to the Motion of Loft Space Condominium [Docket 33] to, inter aCia,
dismiss the referenced bankruptcy case. An initial hearing on the Motion was held on December
7, 2017, and an adjourned hearing is scheduled for February 8, 2018 at 3:00 p.m. We write to
inform the Court that Loft Space Condominium and the Debtor have agreed to mediate the
pending disputes between them upon the following terms and conditions. The parties
respectfully request that the Court attempt to locate a mediator who is a sitting bankruptcy judge
or magistrate, who would serve as mediator at no charge. The parties would also request that the
Court fix a reasonable deadline for completion of the mediation. We note in this respect that we
have been advised by Helen Barefield, Esq., counsel to Richard Galli and Galli Engineering, a
defendant in the Construction Defect Action, that they are amenable to this mediation proposal.

            We look forward to discussing the foregoing with the Court at Thursday's hearing.

                                              Respectfully submitted,


DelBello Donnellan Weingarten Wise &                      Golenbock Eiseman Assor Bell & Peskoe LLP
Wiederkehr LLP                                            Counsel to Loft Space Condominium
Counsel to the Debtor

By:         /s/ Dawn Kirby                                By:      /s/ Jonathan L. Flaxer
            Dawn Kirby                                             Jonathan L. Flaxer




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